Case 1:18-cv-11582-RWZ Document? Filed 08/23/18 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

 

)
UNITED STATES OF AMERICA, }
Plaintiff, )
)

Vv. } C.A. No. 1:18-cv-11582-RWZ
)
$48,940 IN UNITED STATES )
CURRENCY SEIZED AT LOGAN )
AIRPORT, )
Defendant. )
)

VERIFIED CLAIM

Pursuant to Rule G(5) of the Supplemental Rules for Admiralty or Maritime Claims and |
Asset Forfeiture Actions, Edwin Barosy (“Barosy”) hereby claims his interest in the Defendant
property, $48,940 in United States Currency. Barosy is the owner of the Defendant property.
VERIFICATION
I, Edwin Barosy, verify on oath and solemn affirmation that the contents of the above
document are true and accurate to the best of my knowledge. Signed under the pains and

penalties of perjury, this 23d day of August, 2018.

Dated: August 23, 2018 ER ,
Edwin Barosy—)

 

 

 

 
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COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, ss.

On this 23d day of August, 2018, before me, the undersigned notary public, personally
appeared Edwin Barosy, proved to me through satisfactory evidence of identification, which was
____ photographic identification with signature issued by a federal or state government agency,
_____ oath or affirmation of a credible witness, X personal knowledge of the undersigned, to be

the persons whose name is signed on the preceding document, and acknowledged to me that he

signed it voluntarily for its stated purpose.

Dated: August 23, 2018

August 23, 2018

Notary Public
My commission expires:

      
     

  

MATTHEW D. THOMPSON

Notary Public
COMMONWEALTH OF MASSACHUSETTS
; My Commission Expires
December 14, 2023

By his attorney,

/s/ Matthew D. Thompson
Matthew D. Thompson

B.B.O. #655225

BUTTERS BRAZILIAN LLP
699 Boylston Street

Boston, Massachusetts 02116
(617) 367-2600
thompson(@buttersbrazilian.com

CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies

will be sent to those indicated as non-registered participants on this date.

/s/ Matthew D. Thompson
Matthew D. Thompson

 
